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J. Michael Wheiler, ISB #3364
wheiler@thwlaw.com
Richard R. Friess, ISB #7820
friess@thwlaw.com
THOMSEN HOLMAN WHEILER, PLLC
2635 Channing Way
Idaho Falls, ID 83404
Tel: (208) 522-1230
Fax: (208) 522-1277

Attorneys for Defendant Obstetrics & Gynecology Associates of Idaho Falls, P.A.

                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


KELLI ROWLETTE, an individual, SALLY                        Case No. 4:18-CV-00143-DCN
ASHBY, an individual, and HOWARD FOWLER,
an individual,

Plaintiffs,
                                                       DEFENDANT OBSTETRICS AND
v.                                                   GYNECOLOGY ASSOCIATES OF IDAHO
                                                    FALLS, P.A.’S CORPORATE DISCLOSURE
GERALD E. MORITMER, M.D., LINDA G.                                 (FRCP 7.1)
McKINNON MORTIMER, and the marital
community comprised thereof, and OBSTETRICS
AND GYNECOLOGY ASSOCIATES OF IDAHO
FALLS, P.A., an Idaho professional corporation,

Defendants.


         COMES NOW, Defendant Obstetrics and Gynecology Associates of Idaho Falls, P.A.,

pursuant to F.R.C.P. 7.1, and discloses that it has no parent corporation and that no publicly held

corporation owns any of its stock.

         DATED this 9th day of May, 2018.


                                                     By:    ____________________________
                                                            Richard R. Friess




1 – DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
    P.A.’S CORPORATE DISCLOSURE
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                                   CERTIFICATE OF SERVICE


        I hereby certify that on May 9, 2018, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system:

SHEA C. MEEHAN
WALKER HEYE MEEHAN & EISINGER, PLLC
1333 COLUMBIA PARK TRAIL, STE 220
RICHLAND, WA 99352




                                                      By:    ____________________________
                                                             Richard R. Friess




JMW/7800.037/PLEADINGS/003 CORP DISCLOSURE




2 – DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
    P.A.’S CORPORATE DISCLOSURE
